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                                   17-CV-3659 (ARR)(ST)


                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF NEW YORK



                                   DEBRA CREESE,

                                                                                Plaintiff,

                                                          - against -

                                   THE CITY OF NEW YORK, and JELINSON
                                   MARTINEZ,

                                                                              Defendants.




                                   DEFENDANTS’ MOTIONS IN LIMINE




                                                  JAMES E. JOHNSON
                                        Corporation Counsel of the City of New York
                                            Attorney for Defendants
                                            100 Church Street
                                            New York, N.Y. 10007

                                             Of Counsel: Angharad K. Wilson
                                             Tel: (212) 356-2572
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                                    PRELIMINARY STATEMENT

                Plaintiff brings this action pursuant to 42 U.S.C. § 1983 (“Section 1983”) against

Officer Jelinson Martinez and the City of New York. A trial date has not been scheduled, but

trial will proceed on the single claim of false arrest since all of the other claims initially asserted

in this matter have been dismissed. Defendant Officer Martinez now seeks the following in

limine relief: (1) to preclude evidence of unrelated disciplinary allegations since, among other

things, the evidence is irrelevant and unduly prejudicial; (2) to preclude the testimony of S.C.

and B.D. – who have never been disclosed by plaintiff as witnesses and who may not even

actually be witnesses; (3) to preclude any mention of allegations of selective enforcement of

Café Omar by NYPD; (4) to preclude any evidence regarding Plaintiff’s criminal prosecution as

the malicious prosecution claim herein was dismissed; (5) to preclude the introduction of

exhibits related to the arrest of Janeka Creese; (6) to preclude mention of the City of New York

and indemnification, and/or to preclude calling the defense attorneys “City attorneys;” (7) to

preclude Plaintiff from requesting a specific dollar amount at trial; and (8) to preclude Plaintiff

from introducing sections of the NYPD Patrol Guide at trial.

                                              POINT I

                        PLAINTIFF SHOULD BE PRECLUDED
                        FROM INTRODUCING EVIDENCE OF
                        UNRELATED          DISCIPLINARY
                        ALLEGATIONS   AND PERFORMANCE
                        EVALUATIONS.

                Plaintiff has listed on the Joint Pre-Trial Order as exhibits Officer Martinez’s

Internal Affairs Bureau (“IAB”) resume, Civilian Complaint Review Board (“CCRB”) summary,

Central Personnel Index (“CPI”), performance reviews, and the entirety of three unrelated

disciplinary investigation files.

                One of the complete investigatory files that plaintiff seeks to introduce relates to

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the allegation that DJ equipment belonging to an individual who was arrested in connection with

an unlicensed cabaret was improperly vouchered and some of it was missing. The IAB

investigation determined that Officer Martinez vouchered the items in accordance with NYPD

regulations and closed the investigation. Another investigative file alleges that Officer Martinez

conducted random business inspections of a juice bar with an invalid liquor license and that

Officer Martinez’s supervisor improperly drank a bottle of beer that was removed from the

premises. Investigation of the incident determined that the claim was unfounded as to the

allegations that the premises was unlawfully searched and that the owner was improperly

arrested, and unsubstantiated as to the allegation that the premises were randomly searched and

that any officer drank any confiscated alcohol. The third investigation involves the allegation that

an arrestee, who had been drinking, was missing $30.00 from his pocket, though he could not

account for how the money went missing. Officer Martinez was only named as a subject because

he was the partner of the arresting officer. This investigation was also closed as unsubstantiated.

It appears that plaintiff seeks to introduce testimony and/or documentary evidence related to

these irrelevant disciplinary matters for the purposes of suggesting that Officer Martinez has a

propensity to abuse his authority by arresting individuals involved in nightclubs. Plaintiff should

not be permitted to do so.

               First, the evidence is irrelevant. Here, there is no dispute that there were minors

drinking alcohol on the premises where Plaintiff was arrested, nor is there any allegation that

Café Omar was not, in fact, serving alcohol. Further, it is clear that P.O Martinez, who was one

of several officers who conducted the business inspection in this case, did not determine that this

particular business would be the subject of enforcement. As such, prior unsubstantiated

allegations that Officer Martinez purportedly conducted harassing business inspections and



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arrested an individual who claims that alcohol was not being served on her premises are not

relevant; and, even if the claims were relevant, introduction of evidence pertaining to these

unrelated allegations would be highly prejudicial to Officer Martinez since the jury might decide

liability based on the existence of multiple complaints of misconduct rather than focusing on the

evidence pertaining to the sole claim at issue – whether the officer improperly arrested Plaintiff.

               Second, in addition to the irrelevancy of the disciplinary documents, Plaintiff

should be precluded from introducing the listed exhibits, eliciting testimony concerning any of

the disciplinary investigations reflected on disciplinary summaries or the records of those

investigations, or attempting to elicit evidence concerning any other allegations of misconduct

against Defendant Martinez or any other police officer listed as witnesses, because such evidence

is improper propensity evidence and unduly prejudicial pursuant to by Federal Rules of Evidence

404(b) and 403.

               Rule 404(b) prohibits the use of evidence of past acts “to prove the character of a

person in order to show action in conformity therewith.” Fed. R. Evid. 404(b). Moreover, even

where evidence of past acts is offered for a proper purpose,1 it is only admissible if the acts are

sufficiently similar to the act at issue in the instant matter. See United States v. Perez, 325 F.3d

115, 129 (2d Cir. 2003) (quoting 22 C. Wright & K. Graham, Federal Practice and Procedure:

Evidence § 5245 (1978)) (“Similarity, being a matter of relevancy, is judged by the degree in

which the prior act approaches near identity with the elements of the offense charged.”); Ricketts

v. City of Hartford, 74 F.3d 1397, 1414 (2d Cir. 1996) (reasoning that it would be an abuse of

discretion to admit similar act evidence at trial if the prior act was not sufficiently similar); cf.

United States v. Aminy, 15 F.3d 258, 260 (2d Cir. 1994) (admitting evidence of other acts
1
 Rule 404(b) permits the use of evidence of past acts for “proof of motive, opportunity, intent,
preparation, plan, knowledge, identity, or absence of mistake or accident.” Fed. R. Evid. 404(b).

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because sufficient similarity showed relevance).

               Further, bad act evidence of a sufficiently similar nature is not automatically

admissible even where the proponent has articulated some not-for-character purpose. As the

Supreme Court held in Huddleston v. United States, 485 U.S. 681, 688 (1988), the decision to

admit evidence under Rule 404(b) depends on “whether the danger of unfair prejudice

[substantially] outweighs the probative value of the evidence in view of the availability of other

means of proof and other factors appropriate for making decisions of this kind under Rule

403.” Thus, Rule 404(b) requires a two-part analysis: first, whether the proposed evidence fits

within one of the exceptions provided by the Rule, and, second, whether under Rule 403 the

probative value is substantially outweighed by the potential for jury confusion or

prejudice. Lombardo v. Stone, No. 99 Civ. 4603 (SAS), 2002 U.S. Dist. LEXIS 1267, at *8

(S.D.N.Y. Jan. 29, 2002); see also Advisory Committee Notes to Fed. R. Evid. 404(b).

               As an initial matter, it clear that the purpose of introducing this evidence would be

to suggest to the jury that Officer Martinez has a propensity or pattern of engaging in

unconstitutional conduct, including, but not limited to false arrests and/or theft of property. The

evidence should be excluded on this basis alone. See e.g., Berkovich v. Hicks, 922 F.2d 1018

(2d Cir. 1991) (upholding the exclusion at trial of all references to the defendant police officers’

history of prior civilian complaints pursuant to 404(b) and 403 of the Federal Rules of

Evidence); Swift v. Mauro, No. 04-CV-899 (NAM) (GJD), 2008 U.S. Dist. LEXIS 52203, *2-3

(N.D.N.Y. July 7, 2008) (excluding evidence of complaints, internal affairs reports, and notices

of claim on grounds that such testimony was not related to the truthfulness of Plaintiff’s

allegations and probative value was slight).

               Nonetheless, even if Plaintiff could articulate a proper purpose for the disciplinary



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 evidence under 404(b), which she cannot, the evidence should still be excluded because it is

 dissimilar in nature to the allegations here and is substantially more prejudicial than probative

 and is, thus, inadmissible pursuant to Rule 403. As set forth above, there are no allegations of

 missing property in this matter and, there is no dispute concerning the legality of serving alcohol

 on the premises; accordingly, the intended evidence is dissimilar to the claims alleged in the

 complaint. Further, admitting evidence of these unrelated, dissimilar complaints would unfairly

 prejudice Officer Martinez. The very fact that there are other allegations of misconduct is, in

 itself prejudicial, since it could influence a jury’s credibility assessment of the officer. The

 evidence is also prejudicial since it would require Officer Martinez to explain the particular facts

 and circumstances of the unrelated incidents – essentially turning into mini-trials of Officer

 Martinez’s disciplinary history – which would in turn confuse and distract the jury from the

 ultimate issue of whether Officer Martinez violated Plaintiff’s constitutional rights in this case.2

 Thus, any purported similar act evidence offered by Plaintiff is inadmissible, and Plaintiff should

 be precluded from introducing Defendant’s disciplinary history or inquiring about unrelated

 allegations of misconduct at trial.

                Moreover, to the extent that Plaintiff may argue that this evidence is relevant to

 Officer Martinez’s character for truthfulness, it is clear that pursuant to FRE 608 and 609,

 extrinsic evidence cannot be used to demonstrate a witness’s character for truthfulness unless it

 is a conviction for a felony and that the probative value outweighs the prejudicial effect of such

 evidence. In this case, the evidence involves confusing and unsubstantiated claims of missing

 property that are not related to any criminal conviction of Officer Martinez. Further, the

 probative value of these vague, confusing, and unsubstantiated claims is greatly outweighed by
 2
  Similarly, unrelated allegations of misconduct are inadmissible hearsay pursuant to Fed. R. Civ.
 P. 802.

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 the prejudicial effect such evidence would have on a jury. Similarly, Officer Martinez’s

 performance evaluations should be precluded because they are not relevant to the remaining

 claim in this case. While these evaluations might arguably be relevant to a claim against the City

 of New York for negligent supervision or under a theory of Monell, there are no such claims at

 issue before the jury and, accordingly, introduction of these performance evaluations are not

 relevant to the remaining false arrest claim. Furthermore, these claims may also

                For the same reasons set forth above, Plaintiff should also be precluded from

 proffering evidence or eliciting testimony regarding any non-party officer witnesses’ prior or

 subsequent disciplinary complaints or lawsuits. These individuals are not defendants in this

 matter, and are not subject to liability herein, thus, the probative value of any prior or subsequent

 disciplinary complaints or lawsuits is extremely low or non-existent while the prejudicial effect

 of this evidence is high. The danger of confusion and prejudice clearly outweigh the probative

 value of any non-party’s disciplinary record.        Id. As such, this evidence should be also

 precluded pursuant to Fed. R. Evid. 403.3




 3
   Courts in this Circuit have applied the same analysis to prior civil lawsuits, finding that the
 probative value of introducing prior lawsuits is outweighed by the prejudicial effect such
 evidence could have and its potential to confuse the jury. See Richmond v. General Nutrition
 Ctrs., Inc., 08 Civ. 3577 (PAE)(HBP), 2012 U.S. Dist. LEXIS 32070, at *31 (S.D.N.Y. Mar. 9,
 2012) (precluding the introduction of evidence of lawsuits against defendant because “the risk of
 unfair prejudice and confusion from introducing documents reflecting allegations in other cases
 clearly outweighs the probative value of such claims.”); see also Figueroa v. Boston Sci. Corp.,
 00 Civ. 7922 (DC), 2003 U.S. Dist. LEXIS 10936, at *11 (S.D.N.Y. June 25, 2003) (finding that
 the probative value of introducing evidence of other lawsuits is “substantially outweighed by the
 danger of unfair prejudice, confusion of the issues, and considerations of undue delay and waste
 of time.”).
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                                              POINT II

                        PLAINTIFF SHOULD BE PRECLUDED
                        FROM OFFERING TESTIMONY OF S.C. and
                        B.D.  BECAUSE   THEY    WERE   NOT
                        DISCLOSED AS POTENTIAL WITNESSES.

        Plaintiff intends to call two individuals identified in the JPTO only as “S.C., Security

 guard, potential witness, sealed arrest,” and “B.D., Bar patron, sealed arrest.” The testimony

 should be precluded because Plaintiff never disclosed them as required by Fed. R. Civ. P.

 26(a)(1)(A)(i), and, in fact, their identities and the subject matter of their testimony have still not

 been adequately disclosed.

        Where a party fails to provide information required by Fed. R. Civ. P. 26(a), that party is

 not allowed to use that information at a hearing or trial unless the failure was substantially

 justified or harmless. Fed. R. Civ. P. 37(c)(1). “The purpose of the rule is to prevent the practice

 of “sandbagging" an opposing party with new evidence.” Ebewo v. Martinez, 309 F. Supp. 2d

 600, 607 (S.D.N.Y. 2004) (precluding expert report not timely disclosed prior to motion practice

 for summary judgment).        In determining whether preclusion is warranted, “(1) the party’s

 explanation for the failure to comply with the [disclosure requirement]; (2) the importance of the

 testimony of the precluded witness[es]; (3) the prejudice suffered by the opposing party as a

 result of having to prepare to meet the new testimony; and (4) the possibility of a continuance.”

 Patterson v. Balsamico, 440 F.3d 104, 117 (2d Cir. 2006).

        First, Plaintiff has offered no explanation as to why these individuals were not previously

 disclosed. Second, the subject matter of their anticipated testimony has still not been disclosed

 and, consequently, neither its relevance nor its importance can be assessed. Critically, as

 Plaintiff has noted that these are “potential” witnesses, she appears equally ignorant of the

 relevance or importance of their testimony. Moreover, third, it would be extremely prejudicial to

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 require Officer Martinez to defend against this unknown and unanticipated testimony for the first

 time at trial. Furthermore, a continuance in this case would not be appropriate, as it appears that

 the witnesses are individuals who were arrested on the night of the incident, meaning that

 Plaintiff has been aware of their existence for years and could have disclosed them during

 discovery when depositions could have been taken. To add these witnesses now only confuses

 the issues in the case and requires the expending of further resources to conduct discovery that

 should have taken place prior to the close of discovery and briefing on the summary judgment

 motion. Plaintiff should not be rewarded with a continuance for her strategic decision to forego

 identification of these purported witnesses during the discovery period.

                                            POINT III

                       PLAINTIFF SHOULD BE PRECLUDED
                       FROM    OFFERING  TESTIMONY  OR
                       EVIDENCE REGARDING THE LAWSUIT
                       BROUGHT BY THE OWNER OF CAFÉ
                       OMAR,    ALLEGED   INCIDENTS OF
                       SELECTIVE ENFORCEMENT.

        Plaintiff should further be precluded from offering any testimony or evidence regarding

 the allegations and/or lawsuits of the owner of Café Omar or his son commenced in 2018

 alleging that Café Omar was targeted for selective enforcement due to racial bias. The owner of

 Café Omar, Kendal Stewart, who served on the New York City Council from 2002 to 2009, filed

 a lawsuit in 2018 alleging that the NYPD unfairly targeted Caribbean-owned businesses in East

 Flatbush, Brooklyn, for enforcement of alcohol rules. Mr. Stewart’s lawsuit alleges that the

 selective enforcement began in August 2016, several months after the date of the incident in this

 matter, when NYPD officers forced him to shut down an event at Café Omar on the weekend

 prior to the West Indian Day Parade.

        These allegations of selective enforcement should be precluded because they are not

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 relevant to the issue of whether or not there was probable cause to arrest Plaintiff for selling

 alcohol to Mr. Audige. There is no dispute that Mr. Audige was in Café Omar and further there

 is no dispute that Mr. Audige was underage and in possession of alcohol at the time of

 enforcement. The issue underlying the false arrest is therefore not whether or not the

 establishment was properly targeted for enforcement, but rather whether there was probable

 cause to believe that Plaintiff was individual who provided the alcohol to Mr. Audige.

 Allegations regarding selective enforcement would thus be irrelevant and prejudicial to

 Defendant Martinez, since it would suggest that he routinely improperly targeted businesses that

 served alcohol, and would outweigh any probative value.

                                            POINT IV

                        PLAINTIFF SHOULD BE PRECLUDED
                        FROM    OFFERING   TESTIMONY    OR
                        EVIDENCE   REGARDING    PLAINTIFF’S
                        CRIMINAL PROSECUTION, AS THERE IS
                        NO     CLAIM     FOR     MALICIOUS
                        PROSECUTION BEFORE THE JURY.


        Plaintiff has listed a number of exhibits from the file of Plaintiff’s criminal prosecution

 on the Joint Pre-Trial Order, specifically: the DA’s file jacket, the Complaint Room Screening

 Sheet, the Criminal Court Complaint, the CPL 701.30(1)(a) Statement Notice Form, the DA

 Packet Online, the Criminal Court Information, and the Certificate of Disposition. Additionally,

 Plaintiff has listed the prosecutor who handled her case, Lino de Masi, as a witness on the JPTO.

 All of this evidence should be precluded as irrelevant and a waste of time, pursuant to Fed. R.

 Evid. 402 and 403. These documents are not relevant to the sole remaining claim in this action,

 which is a claim for false arrest.

        Probable cause exists “when the arresting officer has knowledge or reasonably



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 trustworthy information sufficient to warrant a person of reasonable caution in the belief that an

 offense has been committed by the person to be arrested.” Singer v. Fulton County Sheriff, 63

 F.3d 110, 118 (2d Cir. 1995). The validity of an arrest does not depend upon an ultimate finding

 of guilt or innocence. Pierson v. Ray, 385 U.S. 547, 555 (1967). Thus, whether the suspect was

 later acquitted of the charges for which he was arrested is irrelevant to a determination of

 probable cause at the time of arrest. Michigan v. DeFillippo, 443 U.S. 31, 36 (1979). Plaintiff’s

 prosecution and its ultimate outcome are thus irrelevant to the false arrest claim in this matter.

 Introduction of evidence regarding Plaintiff’s prosecution would thus be a waste of time.

 Moreover, introduction of this irrelevant evidence would also confuse the jury since (1) it might

 lead the jury to conclude that the evidence is somehow relevant, even though it has no relevance

 to the ultimate issuance the jury must decide – whether Plaintiff was arrested absent probable

 cause; and (2) the jury simply would not know what to do with the evidence. Accordingly,

 Exhibits 4-9, 18, and 19, along with the testimony of ADA Lino de Masi should be precluded.

                                            POINT V

                       PLAINTIFF SHOULD BE PRECLUDED
                       FROM OFFERING EXHIBITS RELATED TO
                       JANEKA CREESE’S ARREST BECAUSE
                       THEY ARE NOT RELEVANT TO THE ISSUE
                       OF PROBABLE CAUSE TO ARREST
                       PLAINTIFF.

        Plaintiff has listed a number of documents related to the arrest of her daughter, Janeka

 Creese, on the Joint Pre-Trial order, including the arrest report, the prisoner movement slip, the

 record of the Criminal Justice Agency interview, and the Desk Appearance Ticket investigation

 form. See, Pl. Exhs. 38-46. All of this evidence should be precluded as irrelevant and a waste of

 time, pursuant to Fed. R. Evid. 402 and 403. These documents are not relevant to the sole

 remaining claim in this action, which is a claim that Debra Creese was falsely arrested. Whether

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 or not there was probable cause or arguable probable cause to arrest Janeka Creese is irrelevant

 to the question of whether there was probable cause to arrest Debra Creese. Moreover, this Court

 has already dismissed Janeka Creese’s false arrest claim and that decision was affirmed by the

 Second Circuit. These documents thus have no probative value in relation to claim that the jury

 will be deciding in this matter and presentation of these documents to a jury will only serve to

 confuse the jury and waste time with irrelevant evidence. Moreover, this evidence is also

 prejudicial to the extent that Plaintiff seeks to suggest that Officer Martinez has a propensity to

 routinely make unjustified arrests. Further, it is also prejudicial to the extent that this evidence is

 provided to suggest that the reason that Janeka’s case was dismissed is that there was probable

 cause and that, by contrast, Debra’s case was not dismissed because there was no probable cause.

                                              POINT VI

                        THE JURY SHOULD NOT BE TOLD THAT
                        THE CITY OF NEW YORK IS A
                        DEFENDANT, PLAINTIFF SHOULD BE
                        PRECLUDED FROM REFERRING TO
                        DEFENSE     COUNSEL    AS    “CITY
                        ATTORNEYS,” AND PLAINTIFF SHOULD
                        BE   PRECLUDED    FROM    OFFERING
                        EVIDENCE OF INDEMNIFICATION.

                Since the claim for municipal liability under Monell has been dismissed, there

 remains no claim against the City of New York other than that which arises from a theory of

 respondeat superior. Thus, the City of New York should not be mentioned at the trial and it

 should be removed from the caption for any documents at trial. Any mention of the City of New

 York would only be for the purpose of prejudicing Defendant Martinez because then the jury

 would be inclined to award Plaintiff more money under the assumption that the City of New

 York is a “deep pocket” who can afford to pay a higher judgment than the individual officer

 would be able to on his own. Defendants will stipulate that Officer Martinez was acting in the

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 scope of his duties as an NYPD officer in connection with this case. Therefore, should Plaintiff

 prevail on the claim against Officer Martinez, Plaintiff will also have prevailed against the City

 of New York on a theory of respondeat superior. The City of New York should thus be removed

 from the caption and no mention should be made that the City of New York is a defendant.

        The same prejudice would occur if Plaintiff is permitted to inform the jury that the

 attorneys for Defendant Martinez are employed by the government as “City attorneys.” See

 Hernandez v. Kelly, No. 09-CV-1576 (TLM) (LB), 2011 U.S. Dist. LEXIS 57114, at *17-18

 (E.D.N.Y. May 27, 2011) (where the City was not a defendant, precluding plaintiff from

 referring to the City and directing him to refer to defense counsel as attorneys from the Office of

 Corporation Counsel); Jean-Laurent v. Hennessy, No. 05-CV-1155 (KAM) (LB), 2011 U.S. Dist.

 LEXIS 122767, at *45-46 (E.D.N.Y. Oct. 24, 2011) (same). Accordingly, Defendant respectfully

 requests that no mention of the City of New York be made at the trial and defense counsel be

 referred to as precisely that, “defense counsel,” or “attorneys from the Office of the Corporation

 Counsel.”

        Indemnification also has no bearing on the facts of Plaintiff’s claims or damages and

 would only serve to unfairly prejudice the Defendant. Therefore, pursuant to Fed. R. Evid. 402

 and 403, Plaintiff should not be allowed to introduce or otherwise refer to the possibility that the

 City of New York will indemnify Defendant Martinez. Officer Martinez will not proffer

 evidence regarding his personal financial resources and ability to pay punitive damages at

 trial. Therefore, based upon the established precedent in this Circuit, there is no relevant basis

 for the admission of possible indemnification evidence at trial and, accordingly, such evidence

 should be precluded. See Mathie v. Fries, 121 F.3d 808, 816 (2d Cir. 1997) (the existence of an

 indemnification agreement is relevant only where the individual defendants adduce evidence of



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 their personal financial resources at trial); see also Jean-Laurent v. Wilkinson, No. 05 Civ. 0583

 (VM), 2009 U.S. Dist. LEXIS 20472, at *8 (S.D.N.Y. Mar. 13, 2009) (precluding admission at

 trial of evidence of potential indemnification of defendant police officers by the City of New

 York).

                Accordingly, (1) the jury should not be advised of the fact that the City of New

 York is a defendant in this matter and it should be removed from the caption; (2) defense counsel

 should not be referred to as City attorneys; and (3) Plaintiff should be precluded from

 introducing evidence concerning possible indemnification by the City.

                                                POINT VII

                       PLAINTIFF SHOULD BE PRECLUDED
                       FROM REQUESTING A PARTICULAR
                       DOLLAR AMOUNT AT TRIAL.

                While the Second Circuit has not adopted a flat prohibition of suggesting a

 specific dollar amount, it does disfavor specifying target amounts for the jury to award. Consorti

 v. Armstrong World Industries, Inc., 72 F.3d 1003, 1016 (2d Cir. 1995). Such suggestions

 unlawfully anchor the jurors’ expectations of a fair award at a place set by counsel, rather than

 by the evidence. Id.. See also Mileski v. Long Island R.R. Co., 499 F.2d 1169, 1172 (2d Cir.

 1974)(“A jury with little or no experience in such matters, rather than rely upon its own

 estimates and reasoning, may give undue weight to the figures advanced by plaintiff’s counsel . .

 .”). The Court in Consorti went on to state:

                   A jury is likely to infer that counsel’s choice of a particular
                   number is backed by some authority or legal precedent.
                   Specific proposals have a real potential to sway the jury
                   unduly. . . . We encourage trial judges to bar such
                   recommendations.

 Consorti, 72 F.3d at 1016. As such, Plaintiff should be precluded from suggesting a specific



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 dollar amount to the jury during her opening statement, during the testimony of any witness

 and/or during summation.

                                               POINT VIII

                        PLAINTIFF SHOULD BE PRECLUDED
                        FROM MENTIONING THE NEW YORK
                        CITY POLICE DEPARTMENT PATROL
                        GUIDE.

                Plaintiff should be precluded from referring to and offering any evidence of

 NYPD procedure or patrol guide provisions. Alleged violations of NYPD procedure by the

 Defendant is irrelevant to the determination of whether Plaintiff’s constitutional rights were

 violated. This is especially true in this case where there is no evidence in the record to establish

 that any of the Defendants violated NYPD procedure pertaining to their interaction with Plaintiff.

 Thus, any NYPD procedure or patrol guide provision should be precluded pursuant to Fed. R.

 Evid. 402 and 403.

                First, the standards set forth as per NYPD procedure are merely guidelines

 established by the New York City Police Department and are not the standards of the United

 States Constitution. In light of Plaintiff’s claims that her constitutional rights were violated, any

 NYPD guidelines, whether or not followed to the letter, are irrelevant to the determination of

 whether Plaintiff’s constitutional rights were violated. See Smith v. Freland, 954 F.2d 343, 347

 (6th Cir. 1992) (“[u]nder § 1983, the issue is whether [the officer] violated the Constitution, not

 whether he should be disciplined by the local police force. A city can certainly choose to hold its

 officers to a higher standard than that required by the Constitution without being subjected to

 increased liability under § 1983”); Romero v. County of Lake, 60 F.3d 702, 705 (10th Cir. 1995)

 (“violations of state law and police procedure generally do not give rise to a 1983 claim”); see

 also Galapo v. City of New York, 95 N.Y.2d 568, 574-75 (N.Y. 2000) (NYPD Patrol Guide

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 should be excluded from evidence because it does not create legal duties).           Since NYPD

 procedure does not create legal duties, it is irrelevant to the determination of whether Plaintiff’s

 constitutional rights were violated and should therefore be precluded under Fed. R. Evid. 402.

                Second, any reference to alleged “violations” of NYPD procedure, meaning that

 Defendant did not follow the exact guidelines, would only confuse the jury. The jury will be

 called upon to determine whether Officer Martinez violated Plaintiff’s constitutional rights,

 which is to be evaluated by the jury under the Fourth Amendment standard. If the jury is

 presented with the proffered portions of NYPD procedure, it is likely to wrongly assume that

 NYPD procedure sets out the standard by which they are to evaluate Defendant’s alleged

 unconstitutional actions, notwithstanding a contrary instruction from the Court. It is certainly in

 the realm of possibility that an officer could follow NYPD procedure and still violate an

 individual’s constitutional rights or not follow NYPD procedure and not violate an individual’s

 rights. Therefore, any reference to alleged “violations” of NYPD procedure are irrelevant,

 unfairly prejudicial, and would only confuse the issues and the jury. Accordingly, the Patrol

 Guide, as well as testimony regarding NYPD procedure, should therefore be precluded pursuant

 to Fed. R. Evid. 402 and 403.




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                                         CONCLUSION

                For the foregoing reasons, Defendants respectfully request that the Court grant

 Defendants’ motions in limine, along with other such relief that the Court finds just and proper.

 Dated:         New York, New York
                December 21, 2020


                                                      JAMES E. JOHNSON
                                                      Corporation Counsel of the
                                                      City of New York
                                                      Attorney for Defendants City and Martinez
                                                      100 Church Street
                                                      New York, New York 10007
                                                      (212) 356-2572




                                              By:
                                                      Angharad K. Wilson
                                                      Senior Counsel

 To:      Counsel of Record (Via ECF)




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